   Case: 1:08-cv-00767-MRB Doc #: 24 Filed: 09/23/09 Page: 1 of 8 PAGEID #: 273




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT CINCINNATI

GREGORY M. UTTER AND                          )   Case No. 1:08-CV-00767
CYNTHIA S. UTTER                              )
                                              )   (Judge Michael R. Barrett)
                             Plaintiffs,      )
                                              )   (Magistrate Timothy S. Hogan)
        -v-                                   )
                                              )   PLAINTIFFS’ FIRST AMENDED
THE PEACHTREE COMPANIES, INC.                 )   COMPLAINT
D/B/A PEACHTREE DOORS AND                     )
WINDOWS                                       )
                                              )
                             Defendant.       )

        Pursuant to Federal Rule of Civil Procedure 15(a) and the Court’s September 22, 2009

Order, Gregory and Cynthia Utter (“Plaintiffs”) hereby amend their complaint against Defendant

Peachtree Companies, Inc., d/b/a Peachtree Doors and Windows (“Defendant”). Plaintiffs state

as follows:

                         PARTIES, JURISDICTION, AND VENUE

        1.     Plaintiffs are and at all relevant times were residents of Ohio, residing at 2866

Afton Valley Court, Maineville, Ohio.

        2.     Defendant is a Tennessee corporation, with its principal place of business in

Mosinee, Wisconsin. Defendant is in the business of manufacturing windows and doors for

residential use.

        3.     Defendant sells its products in Ohio through authorized agents including The

Dapper Company, located in Hamilton County at 10690 Loveland-Madeira Road, Loveland,

Ohio.

        4.     Plaintiffs did in fact purchase windows and doors manufactured by Defendant

through The Dapper Company.
   Case: 1:08-cv-00767-MRB Doc #: 24 Filed: 09/23/09 Page: 2 of 8 PAGEID #: 274




        5.      This action was originally filed in state court in Hamilton County, Ohio, Court of

Common Pleas. Defendant subsequently removed the action to this Court on the basis of

diversity of citizenship, and thus subject matter jurisdiction is proper pursuant to 28 U.S.C.

§ 1332.

        6.      This Court also has jurisdiction over the subject matter of this action under Count

One pursuant to 28 U.S.C. § 1331, as this is a claim under the federal Magnuson-Moss Warranty

Act. The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Counts Two and

Three, as those claims are state law causes of action that are substantially related to the claim

over which this Court has original jurisdiction.

        7.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to the claims occurred in this judicial

district.

                             FACTS COMMON TO ALL COUNTS

        8.      Plaintiffs adopt all preceding paragraphs as if fully restated herein.

        9.      Plaintiffs purchased windows and doors manufactured by Defendant in March,

1991 while constructing their new home for use in that home.

          10.   The Peachtree windows and doors Plaintiffs purchased came with an express,

written lifetime warranty, which Defendant referred to as its “Non-Stop Warranty.”

          11.   Defendant’s “Non-Stop Warranty” guaranteed that Defendant’s windows and

doors would be free of defects that unreasonably affect their performance, for a period as long as

the Plaintiffs continued to live in the home in which those windows and doors were installed.

          12.   Upon information and belief, Defendant advertised this “Non-Stop Warranty” as

follows:




                                                 -2-
   Case: 1:08-cv-00767-MRB Doc #: 24 Filed: 09/23/09 Page: 3 of 8 PAGEID #: 275




              “All Peachtree Doors And Windows Are Guaranteed For As Long
              As You Own Them. In Just 14 Words, We Wrote The Longest
              Warranty In The Business. What does it take to offer a non-stop
              warranty? Confidence. Our Non-Stop Warranty covers every
              Peachtree entry door. Every window. Every patio door. Every
              sliding glass door. If we build it, we'll back it. For as long as you
              own it. Guaranteed. You might expect every major manufacturer to
              guarantee their products the way we do. But the fact is, Peachtree's
              Non-Stop Warranty is completely unique. Why? Maybe other
              manufacturers just don't have as much faith in their products as we
              have.”

       13.    Defendant’s authorized agent, The Dapper Co., provided the Utters with a

Peachtree document that read: “Non-Stop Warranty [.] All Peachtree Doors and Windows Are

Guaranteed For As Long As You Own Them.”

       14.    The Utters purchased their Peachtree Windows and Doors in reliance on the

written and verbal statements about the Non-Stop Warranty made by Peachtree and its

authorized agent.

       15.    The Dapper Co., Defendant’s authorized agent from whom the Utters purchased

their Peachtree windows and doors, did not tell the Utters that they were required to “register”

the warranty or undertake any other action for the Non-Stop Warranty to be effective.

       16.    Since 1991, on multiple occasions Defendant acknowledged its expressed

warranty obligation to Plaintiffs and provided Plaintiffs replacement windows and doors

pursuant to its “Non-Stop Warranty.”

       17.    In late September 2008, Plaintiffs discovered that all windows and doors

manufactured by Defendant and installed in Plaintiffs’ residence were defective.

       18.    Due to their defective condition, the windows and doors manufactured by

Defendant and installed in Plaintiffs’ residence have been leaking at the miter joints of the

windows and at various places around the doors.




                                              -3-
   Case: 1:08-cv-00767-MRB Doc #: 24 Filed: 09/23/09 Page: 4 of 8 PAGEID #: 276




       19.     On September 29, 2008, Plaintiffs informed Defendant of the discovered defects

in the Peachtree windows and requested that Defendant immediately replace the defective

windows under its “Non-Stop Warranty.”

       20.     Defendant has knowledge of the defects in its Peachtree windows and doors.

       21.     Plaintiffs were forced to remove and replace the façade of their residence in order

to uncover and repair the damage to the structure and insulation of the residence caused by

Defendant’s defective windows and doors.

       22.     On October 2, 2008, Plaintiffs reiterated their September 29, 2008 request and

informed Defendant that the Peachtree doors also were defective and requested that Defendant

also immediately replace the defective doors under its “Non-Stop Warranty.”

       23.     On October 7, 2008, Defendant informed Plaintiffs that it would not honor its

“Non-Stop Warranty” and would not replace the defective Peachtree doors or windows that it

sold to Plaintiffs. Defendant claimed that this refusal is justified because the Utters did not

submit a card registering their Non-Stop Warranty:       Defendant claims the warranty is not

effective without this card.

       24.     Defendant’s claim that “All Peachtree Windows And Doors Are Guaranteed For

As Long As You Own Them” is false.

       25.     Due to the fact that Defendant failed to honor its express warranty and refused to

furnish replacements for the defective Peachtree windows and doors of Plaintiffs’ residence, the

façade of the residence was rebuilt around the old, defective windows and doors.

       26.     When the defective Peachtree windows and doors finally are replaced with non-

defective windows and doors, Plaintiffs will be required to remove and then rebuild the new




                                              -4-
   Case: 1:08-cv-00767-MRB Doc #: 24 Filed: 09/23/09 Page: 5 of 8 PAGEID #: 277




façade work around the new windows and doors, incurring substantial additional costs

attributable solely to Defendant’s failure to honor its “Non-Stop Warranty.”

         27.     The leaking of the windows and doors manufactured and warranted by Defendant

and installed in Plaintiffs’ residence also has caused significant damage to the wooden structure

of Plaintiffs’ residence, including wood rot and damage to the interior insulation.

               COUNT I: VIOLATION OF MAGNUSON-MOSS WARRANTY ACT

                                           15 U.S.C. § 2301

         28.     Plaintiffs adopt all preceding paragraphs as if fully restated herein.

         29.     Defendant is a “supplier” as defined in 15 U.S.C. § 2301(4) in that Defendant is

engaged in the business of manufacturing windows and doors, both of which are consumer

products intended to be attached to or installed in any real property. 15 U.S.C. § 2301(1).

         30.     Defendant’s “Non-Stop Warranty” is a “written warranty” as defined in 15 U.S.C.

§ 2301(6) in that it is a written promise made in connection with the sale of the windows and

doors.

         31.     Defendant violated 15 U.S.C. § 2304 because Defendant may not impose on

consumers, including Plaintiffs, any duty other than notification of a defect as a condition of

securing remedies under the warranty. 16 C.F.R. § 700.7(a). Defendant purportedly required

consumers to mail in a registration card in order to be covered by its “Non-Stop Warranty.”

Such a requirement is an unreasonable duty under the Act. 16 C.F.R. § 700.7(b).

         32.     Plaintiffs are entitled to recover damages for Defendant’s failure to abide by its

warranty under the Magnuson-Moss Warranty Act, as well as attorneys’ fees pursuant to 15

U.S.C. § 2310(d).




                                                  -5-
   Case: 1:08-cv-00767-MRB Doc #: 24 Filed: 09/23/09 Page: 6 of 8 PAGEID #: 278




      COUNT II: VIOLATION OF OHIO CONSUMER SALES PRACTICES ACT

                             OHIO REV. CODE § 1345.02(B)(10)

       33.     Plaintiffs adopt all preceding paragraphs as if fully restated herein.

       34.     Defendant has acted deceptively in violation of Ohio Rev. Code § 1345.02(B)(10)

by selling its doors and windows with the “Non-Stop Warranty,” and Defendant now admits that

the claims it made in connection with the warranty is false.

       35.     Defendant’s false representation has caused Plaintiffs economic damages, and

thus Plaintiffs are entitled to recover those damages pursuant to Ohio Rev. Code § 1345.09.

       36.     Defendant knowingly committed the false representation of its warranty, and thus

Plaintiffs are entitled to attorneys’ fees under Ohio Rev. Code § 1345.09(F)(2).

                           COUNT III: BREACH OF CONTRACT

       37.     Plaintiffs adopt all preceding paragraphs as if fully restated herein.

       38.     Defendant expressly warranted in writing that the Peachtree windows and doors

that it sold Plaintiffs in 1991 would remain free of any defects that would unreasonably affect the

performance of those doors and windows for as long as the original purchaser lived in the house

in which the windows and doors were installed.

       39.     Plaintiffs relied on the “Non-Stop Warranty” of Defendant in purchasing the

Peachtree windows and doors for their home.

       40.     Defendant breached its “Non-Stop Warranty” by refusing to replace the defective

Peachtree windows and doors it sold Plaintiffs.

       41.     As a direct and proximate result of Defendant’s breach of its “Non-Stop

Warranty,” Plaintiffs are entitled to the cost of replacement of all windows and doors in

Plaintiffs’ home, and all costs related to removing the defective windows and doors and

installing non-defective replacements.


                                                -6-
   Case: 1:08-cv-00767-MRB Doc #: 24 Filed: 09/23/09 Page: 7 of 8 PAGEID #: 279




                                              RELIEF

       Plaintiffs demand judgment against Defendant in the form of an award of compensatory

damages. Plaintiffs further request an award of prejudgment interest, attorneys’ fees and all

other relief to which Plaintiffs may be entitled.



                                                    Respectfully submitted,

                                                    s/Rachael A. Rowe________________
                                                    Rachael A. Rowe (0066823)
                                                    Anthony M. Verticchio (0084645)
                                                    One East Fourth St.
                                                    Suite 1400
                                                    Cincinnati, Ohio 45202
                                                    Phone: (513) 579-6486
                                                    Fax: (513) 579-6457
                                                    rrowe@kmklaw.com
                                                    tverticchio@kmklaw.com
                                                    Attorneys for Plaintiffs,
                                                    Gregory M. Utter and Cynthia S. Utter


OF COUNSEL:
KEATING MUETHING & KLEKAMP PLL
One East Fourth Street
Suite 1400
Cincinnati, Ohio 45202
(513) 579-6400




                                                -7-
    Case: 1:08-cv-00767-MRB Doc #: 24 Filed: 09/23/09 Page: 8 of 8 PAGEID #: 280




                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed with the Clerk of Courts using the
CM/ECF System which will send notification electronically to all counsel of record this 23rd day
of September, 2009.


                                                 s/Rachael A. Rowe__________________
                                                 Rachael A. Rowe (0066823)




                                              -8-
3119189.2
